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                 IN THE UNITED STATES DISTRICT COURT

                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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    UNITED STATES OF AMERICA,        )

                   Respondent,       )    No. 5:03-cr-00084-VAP ~ I



                vs.                  )



    RODRICK CARDALE REED,            )

                    Defendant.       )
_                                     ~



            MOTION FOR COMPASSIONATE RELEASE PURSUANT TO

          18 U.S.C. ~ 3582(c)(1)(A) AND THE FIRST STEP ACT



         COMES NOW Rodrick Cardale Reed, Defendant Pro se,

respectfully moves this Honorable Court under the authority of

the First Step Act of 2018 to consider defendant's

Compassionate Release pursuant to 18 U.S.C. § 3582(c)(1)(A) in

conjunction with 18 U.S.S.C. § 3553(a) based upon the

following:



                              I.   BACKGROUND



          On June 3, 2004, a federal grand jury returned a nine

count indictment charging more than twenty defendants

including Mr. Reed, with conspiracy and a multitude of drugs

and firearms violations.



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     Prior to trial the government filed a "notice of prior

conviction" pursuant to 21 U.S.C. § 851, seeking to enhance

defendant's statutory mandatory minimum sentence from 10-years

to a statutory mandatory minimum of 20 years, relying upon one

prior conviction for a "felony drug offense" with which to

impose a sentence of life imprisonment if Mr. Reed were

convicted at trial. Subsequently, the defendant proceeded to

trial by jury, and was convicted. At sentencing the court

imposed a statutory enhanced sentence that resulted in life

imprisonment.

     Defendant's appeal was affirmed August 4, 2009 by the

Ninth Circuit Court of Appeals. Post conviction relief was

also subsequently denied.

     On December 21, 2018, President Donald Trump signed into

law the First Step Act of 2018. The First Step Act not only

reduced mandatory minimum penalties, but also changed the

condition under which they apply, particular to defendants

like Mr. Reed, who had received statutory mandatory penalties

.for 851 enhancement.

     After exhaustion of remedies, Mr. Reed now moves the

court on his own motion for consideration for compassionate

release pursuant to 18 U.S.C. § 3582(c)(1)(A) in conjunction

with 18 U.S.C. § 3553(a).



                            II.   ISSUE



     Whether Mr. Reed meets the criteria for Compassionate

Release under the First Step Act of 2018.


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                         III.   RULE OF LAW



     "Increasing the use and the transparency of compassionate

release" as previously illuminated; in late 2018, Congress

pass the First Step Act, part of which transformed the process

for compassionate release under 18 U.S.C. § 3582(c)(1)(A)             See

P.L. 115-391, 132 Stat. 5194 at 603 (Dec. 21, 2018). Section

603 of the First Step Act changed the process by which §

3582(c)(1)(A) compassionate release occurs: instead of

depending upon the BOP Director to determine an extraordinary

circumstance and then move for release, a court can now

resentence "upon motion of defendant," if the defendant has

fully exhausted all administrative remedies "or the lapse of

~30-days from the receipt of such a request by the warden of

the defendant's facility, whichever is earlier." 18 U.S.C. §

3582(c)(1)(A) .

     Once the defendant who has exhausted files a motion, a

court may, after considering the 18 U.S.C. § 3553(a) factors,

resentence a defendant, if the court finds that "extraordinary

and compelling reasons" warrant a reduction. Id. Any reduction

of sentence that a court orders must also be "consistent with

applicable policy statement issued by the Sentencing

Commission." Id. The effect of these new changes is to allow

Federal Judges the ability to move on a prisoner's

compassionate release application even in the face of BOP

opposition or its failure to respond to a prisoner's

compassionate release in a timely manner. Congress made these

changes in an effort to expand the use of compassionate

release sentence reductions under § 3582(c)(1)(A)          Congress
                                   3.
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labeled these changes "increasing the use and transparency of

compassionate release." See 164 Cong. Rec. H10346, H10358

(2018)(emphasis added).



      The U.S. Sentencing Commission defined four examples for

consideration: (1) Medical, (2) due to age, (3) due to family

circumstances, and (4) one "catch-all" provision that "there

exists in the defendant's case an extraordinary and compelling

reason other than, or in conjunction with the reasons

described in subdivisions (A) through (C) of U.S.S.G. §

1B1.13.



            IV.   APPLICABILITY OF THE FIRST STEP ACT



      A. Extraordinary and Compelling Reasons.



      Defendant is not moving the court for compassionate

release due to any medical reason, age, or family

`circumstance. Defendant is directing the court to an

extraordinary and compelling reason other than the above

listed factors, as authorized by the First Step Act and

, Congress' intent. The First Step Act not only reduced

mandatory minimum penalties, but also clarified the

classification of offenses and conditions under which they

apply. Under the Act, a defendant's prior convictions must

meet the new definitions of "serious drug felony" or "serious

violent felony." In order to meet the new criteria, a

defendant must have:
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          (1) served a term of imprisonment of more

          that 12 months on the prior offense, and,



          (2) must have been released within 15 years of

          the current federal offense;



          (3) In addition, any "serious drug felony" based

          on 18 U.S.C. § 3559(c)(2), must have been

         punishable by a term of imprisonment

         of ten years or more.



     In this case, the Government had moved to enhance

defendant's sentence pursuant to 21 U.S.C. § 851, because his

prior conviction was classified as a "felony drug offense"

pursuant to 802 "sentencing classification of the offense,"

and thus, defendant received a statutory enhanced sentence

that resulted in Life imprisonment. Since it was Congress'

intent to have only "serious drug felonies" classified as

qualifying for statutory enhanced penalties, defendant submits

the court has the authority to exercise discretion under the

First Step Act as to his current sentence of life

imprisonment, which was statutorily enhanced in opposite of

congressional intent, is an extraordinary and compelling

reason to grant compassionate release.

     The most relevant facts here is the First Step Act of

2018 and Congress clarifying the definition of a "serious drug

felony." Based on this clarification, the legal and factual

basis for the enhanced sentence under 21 U.S.C. § 851 to which

Mr. Reed was sentenced is no longer sufficient. The "felony

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drug offense" that forms the basis of Mr. Reed's sentence

enhancement does not qualify as a serious drug offense under

Congress' classification in the First Step Act. The court

recognizes as a factor in this combination the fundamental

change to sentencing policy carried out in the First Step

Act's elimination of life imprisonment as a mandatory sentence

soley by reason of a defendant's prior conviction, 401(A)(2),

132 Stat. at 5220 (codified at 21 U.S.C. ~ 841(b)(1)(A)).

     In light of these subsequent changes to Federal

Sentencing, Mr. Reed like many others, now find himself in a

state of sentencing purgatory; that is, he now has a sentence

which Congress and the U.S. Sentencing Commission finds should

not result in a life sentence. This creates a sentencing dispa—

rity among defendants with like criminal conduct facing

sentencing today in the opposite of congressional intent.

     The Senate Judiciary Committee believes that there may be

cases in which an eventual reduction in the length of a term of

  imprisonment is justified by change of circumstances. These

would include cases of severe illness, cases in which other

extraordinary and compelling circumstances justify a reduction

of an unusually long sentence, and some cases in which the

sentencing guidelines and the statutory penalty have been

later amended to provide a shorter term of imprisonment. In

United States v. Maumau, No. 08 Cr.-00758, 2020 WL 806121, at

*7 (D. Utah, Feb. 18, 2020), the court concluded that drastic

reduction in ~ 924(c) sentences with its elimination of

stacking did provide an extraordinary and compelling reason

which, in combination with other circumstances in the case--

warranted a modification of defendant's sentences.
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     Similarly in United States v. Urkevich, No. 03-CR-27,

2019 WL 6037391 (D. Neb. Nov. 14, 2019), the court granted a

:defendant's motion on similar grounds, noting "specifically

the injustice of facing a term of incarceration forty years

longer than Congress now deems warranted for the crimes

committed." See also, United States v. Brown, 411 F. Supp. 3d.

446, 453 (S.D. Iowa, 2019). "District courts assessing a

compassionate release motion may still consider the resulting

sentencing disparity caused by the First Step Act in § 924(c)

cases."

     Consistent with numerous other courts to have confronted

similar situations since the First Step Act, this decision to

grant Mr. Reed compassionate release, turns on the enormous

sentencing disparity created by subsequent changes to federal

sentencing law which constitutes an "extraordinary and

compelling reason" for compassionate release. In assessing

whether Mr. Reed has presented extraordinary and compelling

reasons, the court should initially and centrally consider the

sentence he receives relative to the sentence he would now

.receive for the same offense; whether and to what extent there

is a disparity between the two sentences, and why that

disparity exists.. In that regard, the sentence Mr. Reed

received was in large part attributable to then available

prosecutorial practice of using simple drug felonies in place

of "serious drug felonies" when charging 21 U.S.C. § 851.



     In fact, the FSA's Amendments to the compassionate

release process were explicitly aimed at empowering courts to

do just that--namely, to conduct an individualized assessment
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of a defendant's case and approve a sentence reduction when

warranted. The Act's broader purpose is likewise consistent

with allowing courts to consider such gross sentencing

disparities, rather than forcing judges not to address

subsequent changes to sentencing policy. That disparity is

primarily the result of Congress' conclusion that sentences

like Mr. Reed's are unfair and unnecessary, in effect, a

legislative rejection of the need to impose sentences under 21

U.S.C. ~ 851, as originally created. In addition, it is a

legislative declaration of what level of punishment is

adequate. These, the court should find as extraordinary and

compelling developments that constitute "extraordinary and

compelling reasons" that warrant a reduction to Mr. Reed's

sentence of incarceration.



     B.   Remedy Available Under the First Step Act.



     This Honorable Court may exercise its discretion under

the First Step Act of 2018, as Mr. Reed has illuminated an

extraordinary and compelling reason that warrants relief.

     This court should first order a new PSR, then resentence

Mr. Reed, and issue a downward variance because the statutory

mandatory enhancement that caused the sentence of life

imprisonment is unnecessary to meet the objective of

sentencing. Mr. Reed respectfully submits that a guidelines

sentence is sufficient but not greater than necessary to

reflect the seriousness of the offense, to promote respect for

the law, provide just punishment, afford adequate deterrence

to criminal conduct, and to protect the public from further
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crimes by Mr. Reed. See 18 U.S.C. § 3553(a)(2).



     In terms of the kinds of sentences available and the

guidelines range, Mr. Reed has now served over the 10-year

statutory mandatory minimum. Wherefore, as other courts have

. varied downward from guidelines sentences or reduced sentences
,

to time served in the First Step Act context; a sentence of

time-served would avoid unwarranted disparities between other

defendants. Id. § 3553(a)(3)-(6); see United States v. Biggs,

Case No. 05-CR-316, 2019 U.S. Dist. LEXIS 81509, 2019 WL

2120226, at *3-4 (N.D. I11. May 15, 2019); United States v.

Jesus Antonio Mondasca Sr., 2020 U.S. Dist. LEXIS 37488, No.

-89-CR-0655 DMS (D. Cal. March 3, 2020); United States v.

Quinn, 91 Cr.-0060 DLJ (RS), 2020 WL 3275736 (N.D. Cal. June

17, 2020); United States v. Decator, No. 95-CR-0202, 2020 WL

1676219, at *4 (D. Md, April 6, 2020), and United States v.

Redd, No. 97-CR-00006, 2020 WL 1248493, at *9 (E.D Va. Mar.

16, 2020).



     Given the reasoning of federal district courts around the

country exercising discretion in the First Step Act context,

Mr. Reed has submitted an extraordinary and compelling reason

for the court to exercise its discretion in the First Step Act

context. If the defendant were charged today, he would not

receive an 851 enhancement because he would no longer qualify.

Considering the 18 U.S.C. § 3553(a) factors, which includes de~

fendant's post-conviction rehabilitation conduct, a downward

variance is warranted. See 18 U.S.C. § 3553(a); Pepper v.

United States, 562 U.S. 476, 481 (2011); Simons, 375 F. Supp.
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3d. at 388-89 (reducing sentence to time served considering §

3553(a) factors and post-sentence conduct under Pepper);

Mitchell, 2019 U.S. Dist. LEXIS 107396, 2019 WL 2647571, at

*7-8 (citing cases and reaching same conclusion).



                           V. CONCLUSION



      WHEREFORE, Rodrick Cardale Reed, Defendant pro se, hereby

pray and respectfully moves this Honorable Court to first

order a new PSR, then to hold an evidentiary hearing to

determine the facts, and whether the court has the authority

in the First Step Act context to exercise its discretion and

grant this instant motion for compassionate release based upon

extraordinary and compelling reasons cited herein.



          Dated this /D day of      -_       2     202 .



                                  Respectfully submitted,,

                             By. ~7`~Z~~~k~~~~~ ~~~C~~

                                  Rodrick Reed

                                  Reg. No.   p38 ~/~ - //

                                  U.S.P. Atwater

                                 P.O. Box 019001

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